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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1046V
                                    Filed: February 10, 2016
                                           Unpublished

****************************
DAINA COCCIARDI,                        *
                                        *
                   Petitioner,          *     Damages Decision Based on Proffer;
                                        *     Influenza (“Flu”) Vaccination;
                                        *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                     *     Administration (“SIRVA”); Special
AND HUMAN SERVICES,                     *     Processing Unit (“SPU”)
                                        *
                   Respondent.          *
                                        *
****************************
Bruce William Slane, Law Office of Bruce W. Slane, P.C., White Plains, NY, for
petitioner.
Amy Paula Kokot, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On September 21, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered “right shoulder injuries
[which] were caused-in-fact by her November 11, 2013 influenza vaccination.” Petition,
¶ 27. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On January 22, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for her Shoulder Injury Related to Vaccine Administration
(“SIRVA”). On February 9, 2016, respondent filed a proffer on award of compensation


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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[“Proffer”] indicating petitioner should be awarded $125,000.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award.

       Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $125,000.00 in the form of a check payable to
petitioner, Daina Cocciardi. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

                                                )
DAINA COCCIARDI,                                )
                                                )
                 Petitioner,                    )
                                                )       No. 15-1046V (ECF)
v.                                              )       Chief Special Master Dorsey
                                                )
SECRETARY OF HEALTH AND                         )
HUMAN SERVICES,                                 )
                                                )
                 Respondent.                    )
                                                )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On January 22, 2016, Chief Special Master Dorsey issued a Ruling on Entitlement

finding that petitioner was entitled to vaccine compensation for her Shoulder Injury Related to

Vaccine Administration (“SIRVA”). Based on the evidence of record, respondent proffers that

petitioner should be awarded $125,000.00. This amount represents all elements of compensation

to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.       Form of the Award

          Respondent recommends that the compensation provided to petitioner be made through a

lump sum payment of $125,000.00 in the form of a check payable to petitioner.1 Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1
       Should petitioner die prior to the entry of judgment, respondent reserves the right to
move the Court for appropriate relief. In particular, respondent would oppose any award for
future medical expenses, future pain and suffering, and future lost wages.

                                                    1
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                                           Respectfully submitted,

                                           BENJAMIN C. MIZER
                                           Principal Deputy Assistant Attorney General

                                           RUPA BHATTACHARYYA
                                           Director
                                           Torts Branch, Civil Division

                                           VINCENT J. MATANOSKI
                                           Deputy Director
                                           Torts Branch, Civil Division

                                           GLENN A. MACLEOD
                                           Senior Trial Counsel
                                           Torts Branch, Civil Division

                                           s/Amy P. Kokot
                                           AMY P. KOKOT
                                           Trial Attorney
                                           Torts Branch, Civil Division
                                           U.S. Department of Justice
                                           P.O. Box 146
                                           Ben Franklin Station
                                           Washington, DC 20044-0146
                                           Tel.: (202) 616-4118

Dated:       February 9, 2016




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